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FoR THE wEsTERN DISTRICT oF TENNEssEE
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MELODY A.E. WINTERS,

Plaintiff,
vs. No. 04-2003-Ma/P
JOHN W. SNOW,

Defendant.

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ORDER DENYING MOTION FOR CLASS CERTIFICATION

 

On January 6, 2004, plaintiff Melody A.E. Winters filed
a pro §§ employment discrimination complaint alleging acts of
discrimination and reprisal during her employment with the United
States Department of the Treasury. The Court issued an order on
January 23, 2004 that, inter alia, denied appointment of counsel,
dismissed all parties except John W. Snow, the Secretary of the
Treasury, and authorized service on the remaining defendant. After
defendant filed his answer and the Court issued a scheduling order,
plaintiff filed a motion on July 30, 2004, asking for an extension
of her time to pursue joinder of parties and the filing of amended
pleadings. In her motion, plaintiff indicated, inp§£_all§, that she
sought to pursue this case as a class action. Defendant filed his

response in opposition to the motion on August 3, 2004. Magistrate

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Judge Tu M. Pham issued an order on September 2, 2004 extending the
plaintiff’s time to file a motion to join parties or amend the
pleadings through September 15, 2004.

On September 15, 2004, plaintiff filed a motion, pursuant
to Fed. R. Civ. P. lQ(a)(l), reguesting' the joinder of four
employees of the lnternal Revenue Service in Memphis, “all other
persons known or unknown who claim an interest in this matter,” the
National Treasury Employees Union, and the EEOC, MSCC. The
defendant responded to the motion on September 28, 2004 in which he
noted, inter alia, that “[i]t appears that Plaintiff names
individuals that may be witnesses in this matter and not
individuals who should he joined as parties to this litigation.”
After a hearing, Magistrate Judge Pham issued an order denying
plaintiff’s motion on October 19, 2004.

On November 10, 2004, plaintiff filed a motion seeking an
extension of time to file a motion seeking class certification.
Judge Pham issued an order on November 18, 2004 denying the motion
without prejudice due to the plaintiff’s failure to comply with
Local Rule 7.2(a)(l)(B). Plaintiff filed an amended motion,
accompanied by a certificate of consultation, on December 28, 2004.
Judge Pham issued an order on January 6, 2005 granting the
plaintiff until February 22, 2005 to file a motion seeking class

Certification.

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Plaintiff filed a memorandum of law in support of class
certification on February 22, 2005. She seeks to represent classes
consisting of all individuals who

l. are African American and who applied for, are
employees of, or were employed. by the Internal
Revenue Service MSCC, Memphisr Tennessee and who
were subjected to harassmentr discrimination, and
adverse employment actions including, but not
limited to, being denied promotions and raises,
being denied the opportunity to be detailed, to
other positions for which they gualify, being
furloughed without consideration of seniority
(before or instead of Caucasians), being
reprimanded and terminated, being forced into
resignations, etc.; and

2. are individuals with disabling conditions
(regardless of racial classification) who applied
for, are employees of, or who were employed by the
lnternal Revenue Service MSCC, Memphis, Tennessee
and who were denied reasonable accommodations
within the meaning of the law, who were subjected
to harassment, discrimination, and adverse
employment actions including, but not limited to,
being denied promotions and raises, being denied
the opportunity to be detailed to other positions
for which they gualify, being furloughed without
consideration of seniority, being reprimanded and
terminated, forced into resignation, etc.

Defendant filed a response in opposition to class certification on
March 7, 2005 that questioned whether plaintiff has exhausted her
class claims. Plaintiff filed a reply on March l4, 2005 in which
she argued that she had exhausted her class claims. Subsequently,
on April 25, 2005, plaintiff filed a motion seeking class
certification.

lt is unnecessary to resolve the issue of exhaustion,

which cannot be adequately determined on the basis of the documents

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submitted by the plaintiff, because a pro §§ plaintiff cannot
prosecute a class action. A pro §§ litigant is not an adequate
class representative. Palasty v. Hawk, 15 Fed. Appx. 197, 200 (6th
Cir. June 20, 2001) (“In this case no representative party was
available because pro se prisoners are not able to represent fairly
the class.”); Ballard v. Campbell, No. 98-6156, 1999 WL 777435, at
*l (6th Cir. Sept. 21, 1999); Giorgio v. Tennessee Dep’t of Human
Servs., No. 95-6327, 1996 WL 441656, at *1 (6th Cir. Aug. 7, 1996)
(“Because a layman does not ordinarily possess the legal training
and expertise necessary to protect the interests of a proposed
class, courts are reluctant to certify a class represented by a pro
se litigant.”); see also Oxendine v. Williams, 509 F.2d 1405, 1407
(4th Cir. 1975) (per curiam). The plaintiff is not a licensed
attorney, cannot carry insurance, and is not subject to suit by the
other class members for any mistakes she may make in handling this
case. Other potential class members should not be exposed to the
risk that those errors could prejudice their claims and leave them
without any remedy.l Finally, although the plaintiff’s February 22,

2005 filing includes a request for appointment of counsel, it is

 

Moreover, a party in federal court must proceed either through
licensed counsel or on her own behalf. §e§ 28 U.S.C. § 1654; see also Fed. R.
Civ. P. ll(a) (“Ie]very pleading, written motion, and other paper shall be signed
by at least one attorney of record in the attorney's individual name, or,r if the
party is not represented by an attorney, shall be signed by the party”). No pro
§§ plaintiff may sign pleadings on behalf of another plaintiff. Johns v. County
of San Diego, 114 F.3d 874, 876 (9th Cir. 1997) (“While a non-attorney may appear
prp §§ on his own behalfr ‘[h]e has no authority to appear as an attorney for
others than himself.'”); Mikeska v. Collins,r 928 F.2d 126 (5th Cir. 1991);
Bonacci v. Kindt, 868 F.Zd 1442, 1443 (5th Cir. 1989).

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not an appropriate use of the limited resources available through
the pro bono panel to appoint counsel to handle a potential class
action. The motion for class certification is DENIED.

IT Is so oRDERED this "°&day cf June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
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Honorable Samuel Mays
US DISTRICT COURT

